Case 1:23-cv-00528-JLH-CJB               Document 117   Filed 12/20/24     Page 1 of 2 PageID #:
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


   WOLFRAM ARNOLD, ERIK FROESE,
   TRACY HAWKINS, JOSEPH KILLIAN,
   LAURA CHAN PYTLARZ, and ANDREW
   SCHLAIKJER,

                           Plaintiffs,
           v.                                      Case No. 1:23-cv-528-JLH-CJB

   X CORP. f/k/a TWITTER, INC., X
   HOLDINGS CORP. f/k/a X HOLDINGS
   I, INC. and ELON MUSK,

                           Defendants.


                                           CERTIFICATION

          Pursuant to the Court’s March 7, 2022 Standing Order for Objections Filed Under Fed. R.

 Civ. P. 72, the undersigned counsel for Plaintiffs hereby certify that the objections filed on

 December 18, 2024 to the Magistrate Judge’s December 5, 2024 Report and Recommendation do

 not raise any new legal or factual arguments that were not previously raised before the Magistrate

 Judge. The arguments in the objections discuss Crispo v. Musk, 304 A.3d 567 (Del. Ch. 2023),

 which was submitted as subsequent authority, but otherwise rely on the same legal theory raised in

 the opposition to the motion to dismiss. The objections were set in Garamond font with a font size

 of 12.
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  Dated: December 20, 2024
